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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION



Meetrix IP, LLC,

              Plaintiff,                      Civil Action No. 1:16-cv-1033-LY

v.

Citrix Systems, Inc., GetGo, Inc., LogMeIn,
Inc.,

              Defendants.




           DEFENDANTS’ RESPONSIVE CLAIM CONSTRUCTION BRIEF
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I.     INTRODUCTION

       Defendants Citrix Systems, Inc., GetGo, Inc., and LogMeIn, Inc. (collectively

“LogMeIn”) hereby respond to plaintiff Meetrix IP, LLC’s (“Meetrix’s”) opening claim

construction brief (D.I. 59).

       Although the Court instructed the parties to base their claim construction positions on the

intrinsic record1 and Meetrix committed to do so,2 Meetrix has failed to support its positions with

intrinsic evidence for several claim terms. For example, Meetrix offers no intrinsic evidence to

support its proposed constructions of the virtual private network (VPN) or VPN tunnel claim

terms. Rather, Meetrix relies exclusively on extrinsic evidence to support its constructions of

these terms and its construction of “authenticating.”3 In addition, Meetrix cites no evidence—

intrinsic or extrinsic—to support its positions that the first/second/third mixer, first/second/third

mixed data stream, and first/second/third mixed audio data claim term should not be construed.

In addressing whether the preamble of claim 9 of the ’525 patent is limiting, Meetrix not only

fails to cite any evidence but further does not even make an argument to support its position that

the preamble is not limiting.

       Meetrix’s inability to support its claim constructions with intrinsic evidence is telling,

and its disregard for the intrinsic record is not limited to its claim construction arguments. In

1
  Mar. 21, 2017 Tr. (D.I. 45) at 13:13-19 (“THE COURT: … I have yet to see the disputed
claims that can’t be construed from the internal record. And I will tell you, if it will help you in
coming up with the way you’re going to approach claim construction, that you’re going to get a
whole lot farther with me to tell me where in the internal record your position is supported.”); id.
at 14:3-8 (“THE COURT: … [Y]ou can construe a patent just the same way you can construe a
statute. You look for how the term[] is used. You look for the surrounding areas of it.”).
2
  Mar. 21, 2017 Tr. (D.I. 45) at 17:3-5 (“MR. DINOVO: We’ll base our brief on the intrinsic
record.”).
3
 The Federal Circuit has cautioned against placing undue reliance on the extrinsic record, noting
extrinsic evidence is “unlikely to result in a reliable interpretation of patent claim scope unless
considered in the context of the intrinsic evidence.” Phillips v. AWH Corp., 415 F.3d 1303, 1319
(Fed. Cir. 2005) (en banc).


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laying the groundwork for its constructions in its “Background of the Patents,” Meetrix strays far

from the contents of the patents-in-suit. After presenting Figure 3, Meetrix purports to discuss

the patents in four paragraphs lacking any citations to the intrinsic record. See D.I. 59 at 2-3.

The vast majority of the discussion in those paragraphs has no basis in the intrinsic record. For

example, Meetrix states that a VPN is “rendered ‘virtually private’ by blocking anyone outside

of a defined list of private users.” Id. at 2. The asserted patents never refer to any “defined list”

of users for a VPN, where any such list exists, or how a potential conference participant can join

such a list. Meetrix also asserts that VPNs “are implemented using a protocol called SSL/TLS”

(id.), but neither the SSL nor TLS protocol is mentioned anywhere in the patents-in-suit.

Meetrix is improperly reading the claims onto the accused products’ functionality, and

misleadingly passing this off as description of the patents-in-suit.          In addition, Meetrix

characterizes “[t]unneling” as “a method for transmitting types of packets through the network

when those packet types have header formats that are not necessarily compatible with the

network” (id. at 2-3), but the patents-in-suit never mention “tunneling” or a “header”—let alone

support the association Meetrix advocates.

       The Court should reject Meetrix’s attempts to rewrite its patents to stretch the claims

beyond the particular implementations of audio-video conferencing described, without regard for

the patents’ actual contents. Instead, the Court should adopt LogMeIn’s constructions, which are

well-supported by the intrinsic record, for the reasons explained in LogMeIn’s opening brief and

set forth below.




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II.       ARGUMENT

          A.      “multicast appliances”

      Disputed Term4              Meetrix’s Construction               LogMeIn’s Construction
    “multicast appliances”    devices that provide information devices that use a group address
    (’997 patent, claims 1,   destined to multiple locations via to send information to multiple
        3, 5, 11, & 13)       a single transmission              locations via a single transmission

          The parties agree that the dispute is whether multicast appliances transmit information to

multiple locations via a single transmission by using a group address, per LogMeIn’s

construction. See D.I. 59 at 5. As LogMeIn explained in its opening brief, both the claim

language and the specification support LogMeIn’s construction, while Meetrix’s construction is

overbroad because it encompasses devices that indiscriminately broadcast information to all

connected devices via a single transmission or that send information to multiple locations via a

single transmission without using the multicast protocol. See D.I. 60 at 5-6. Meetrix cites two

aspects of the intrinsic record to argue that multicast appliances need not use group addresses,

but neither supports Meetrix’s position.

          First, Meetrix points to a passage in the Background of the Invention that describes the

multipoint control unit (MCU) in the prior art system of Figure 1. See D.I. 59 at 5 (quoting ’997

patent at 2:33-42).5 Meetrix correctly states that this prior art MCU “can determine whether to

unicast or multicast the audio and video streams,” emphasizing the following statement in the

specification: “Another useful job of the multipoint control unit 203 is to determine whether to

unicast or multicast the audio or video streams.” Id. However, Meetrix leaps to the unsupported

conclusion that “the multicast appliances need not convey a communication with a group

4
    Independent claims are underlined in this and subsequent tables.
5
 The patents-in-suit are attached as Exhibits 1 to 3 to the Declaration of Nathanial McPherson,
which accompanies LogMeIn’s Opening Claim Construction Brief. See D.I. 60-1.


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address” because “that determination can be made at the MCU.” Id. The passage in the

Background does not support Meetrix’s conclusion because it says nothing about how the prior

art MCU performs either unicast or multicast and does not say how the MCU relates to the

claimed “multicast appliances.” Indeed, nothing in the patents-in-suit sheds further light on

either issue. There is no MCU shown in any of the embodiments of the alleged invention. The

only discussion of an MCU in connection with an “embodiment of the present invention” refers

to using the MCU to “insure[] communication capability” after the media stream has been

“transcoded” into a standardized format. ’997 patent at 5:41-44.

         In contrast to the uninformative Background passage cited by Meetrix, the passages

LogMeIn cited relate to the alleged invention and describe how the appliances perform their

multicasting function.    See D.I. 60 at 6 (citing ’997 patent at 4:59-67; 6:48-52; 7:24-26).

Although a group address may be assigned by other components, e.g., the VPN bridge (id. at

6:58-60), the specification repeatedly teaches that the appliances rely on using a group address to

perform their multicast function. See, e.g., ’997 patent at 4:59-67 (“configuring the IP packet

with a group address according to a multicast protocol to create a multicast IP packet … and

the appliances providing the multicast data to each of the other participants in the group

address”); 6:48-52 (“[m]ulticast enabled routing” involves sending “media data” using “one or

more group addresses”).6

         Second, Meetrix argues that interpreting “multicast appliances” to require using a “group

address” to send information would “run[] afoul of the doctrine of claim differentiation,” citing

claim 15’s requirement of an “IP packet with a group address configured according to a multicast

protocol to create a multicast IP packet.” D.I. 59 at 5 (quoting claim 15). Meetrix ignores that



6
    All emphasis added unless otherwise noted.


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claim 15 adds another requirement: “the gateway transform[s] the digital voice data into IP

packets.” ’997 patent at cl. 15. This requirement alone differentiates dependent claim 15 from

independent claim 11, which does not recite a “gateway.” Consequently, adopting LogMeIn’s

proposed construction of “multicast appliances” would not cause claim 15 to have the same

scope as claim 11, so the doctrine of claim differentiation is inapplicable. See Indacon, Inc. v.

Facebook, Inc., 824 F.3d 1352, 1358 (Fed. Cir. 2016) (“we have declined to apply the doctrine

of claim differentiation where, as here, the claims are not otherwise identical in scope”);

Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361, 1370 (Fed. Cir. 2007) (“A further

reason for not applying the doctrine of claim differentiation in this case is that the [] claims are

not otherwise identical … and thus the district court’s construction does not make the composite

composition claims redundant.”).

       In sum, Meetrix has identified no intrinsic evidence to support its position that “multicast

appliances” do not “use a group address to send information to multiple locations via a single

transmission.” In contrast, LogMeIn’s proposed construction “stays true to the claim language

and most naturally aligns with the patent’s description of the invention,” and therefore should be

adopted. See Phillips, 415 F.3d at 1316 (quoting Renishaw PLC v. Marposs Societa´ per Azioni,

158 F.3d 1243, 1250 (Fed. Cir. 1998)).

       B.      “virtual private networks” and “virtual private network tunnel”

            Disputed Term                Meetrix’s Construction       LogMeIn’s Construction
     “virtual private networks”  “Virtual Private Network            private network(s) of
  (’997 patent, claims 1, 3, & 11)
                                 (VPN)”: an approximation            securely connected
 “Virtual Private Network (VPN)” of a private network across         appliances across a public
                                 a public network using              network
  (’525 patent, claims 13 & 14)
                                 encryption to privatize
                                 communication




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    “virtual private network tunnel”   VPN, see above. “tunnel”:     secure connection between
      (’525 patent, claims 5 & 7)      encapsulation                 two appliances in a private
                                                                     network across a public
    “Virtual Private Network (VPN)
                                                                     network
       tunnel” or “VPN tunnel”
      (’332 patent, claims 1 & 5)

                  1.      A “virtual private network (VPN)” is a network, not something that
                          uses encryption to approximate a network

         Meetrix cites no intrinsic evidence to support its proposed constructions.        Instead,

Meetrix relies exclusively on a dictionary definition to argue that a “virtual private network

(VPN)” should be construed as “an approximation of a private network using encryption to

private communication.”      D.I. 59 at 6.    This dictionary definition does not even support

Meetrix’s proposed construction. The definition refers to a VPN having “nodes on a public

network” but there is no reference to “an approximation” or other suggestion in the definition

that a VPN encompasses something that is similar to, but not actually, a network. Id. (quoting

Microsoft Internet and Network Dictionary at 278 (2003)). Meetrix provides no support for its

request that the Court rewrite the claim term “network” to “an approximation” thereof.7

         Moreover, dictionary definitions may be consulted only so long as they do not contradict

the intrinsic record. See Phillips, 415 F.3d at 1322-23 (quoting Vitronics Corp. v. Conceptronic,

Inc., 90 F.3d 1576, 1584 (Fed. Cir. 1996)); see also Adv. Fiber Techs. Trust v. J & L Fiber

Servs., Inc., 674 F.3d 1365, 1374 (Fed. Cir. 2012) (“the district court erroneously construed

‘perforated’ using extrinsic evidence that contradicts the intrinsic evidence of record”). Here,

Meetrix relies on a dictionary definition that runs counter to the intrinsic evidence. Meetrix tries




7
  Meetrix cannot even keep its attempted rewrite straight. When Meetrix first explains what a
VPN is, Meetrix states that “[a] VPN is a network which is a subset of a public network” (id. at
2)—not “an approximation” thereof.


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to use the reference to “encryption technology” in the definition to equate a VPN with the use of

“encryption,” regardless of whether there is actually a “network.”

        As LogMeIn pointed out in its opening brief (see D.I. 60 at 9), the patents-in-suit disclose

that a VPN is distinct from encryption, teaching that encryption is preferably used with a VPN

but that a VPN also can transmit public, non-encrypted information. ’997 patent at 9:25-31 (the

specification refers to connections being “preferably secured by the use of encryption running

within a virtual private network” and to “virtual private networks including public non-

encrypted information”). This distinction is reinforced in the claims of the parent of the ’997

patent, which (as here) refer to establishing VPNs in independent claims, and adds the feature of

encrypting the information in dependent claims. See ’056 patent (D.I. 60-6) at cls. 1, 5, 7 & 8

(independent claims 1 and 7 recite “establishing a plurality of virtual private networks across the

Internet between the multicast appliances” while dependent claims 5 and 8 add “encrypting the

multicast IP packet”).    Meetrix concedes that “claim terms in patents sharing a common

specification and application should usually be given the same interpretation.” D.I. 59 at 4

(citing cases).

        Accordingly, Meetrix’s dictionary definition cannot be used to deviate from the intrinsic

record, which distinguishes a VPN from encryption. See Adv. Fiber Techs. Trust, 674 F.3d at

1374; Phillips, 415 F.3d at 1322-23. The intrinsic record precludes defining anything that uses

encryption as a VPN and rewriting the plain language of the claim term “virtual private network”

to be something less than a network.

                  2.     A VPN securely connects appliances

        Meetrix has not disputed that a VPN securely connects appliances, per LogMeIn’s

construction of a VPN as a “private network of securely connected appliances across a public




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network.”8 As LogMeIn has explained, the intrinsic evidence teaches that the endpoints of the

VPN are appliances by characterizing the VPNs as being established “between the multicast

appliances” in the claims themselves (’997 patent at cls. 1, 3 & 11) and stating that the

appliances serve as “the origination or termination points” and are “at the edge of the network.”

Id. at 6:41-44; 7:10-12; see also id. at 4:25-27; 6:16-17; 6:58-67; Figs. 3-4.

                 3.      A “VPN tunnel” is a connection in the VPN, not “encapsulation”

       Meetrix cites no evidence—intrinsic or extrinsic—to support its proposed construction of

“tunnel” as “encapsulation.” As LogMeIn already has pointed out (see D.I. 60 at 10-11), the

claims require data to be sent “across” or “through” a VPN tunnel, and therefore Meetrix’s

proposed construction, “encapsulation,” is incorrect because a tunnel must provide a path for

data to travel “across” or through.” ’525 patent at cls. 5, 7, 19, & 20; ’332 patent at cls. 1, 5, and

8. Meetrix concedes that a “tunnel is a data path.” D.I. 59 at 7. Meetrix seeks to limit this data

path to one “for encapsulated data” but the intrinsic evidence does not support this. As LogMeIn

previously explained, the patents-in-suit do not equate sending data through a VPN with

encapsulating the data, but rather teach that encapsulated data can be sent through the public,

open Internet. See D.I. 60 at 11 (quoting ’997 patent at 4:3-6 (“compressed digitized audio

packet data is grouped into multicast packets and encapsulated for traversal through the open

Internet”); 6:32-36 (“encapsulated media packets are implemented so that media data may be

routed through public or private IP networks”).


8
  Meetrix should not be heard to dispute this point for the first time in its reply. See, e.g.,
Novosteel SA v. U.S. Bethlehem Steel Corp., 284 F.3d 1261, 1274 (Fed. Cir. 2002) (“[a]s a matter
of litigation fairness and procedure, then, we must treat [an arguments raised for the first time in
a reply brief] as waived”); Docusign, Inc. v. Sertifi, Inc., 468 F. Supp. 2d 1305, 1307 (W.D.
Wash. 2006) (striking new arguments and evidence regarding claim construction “which should
have been addressed in [Plaintiff’s] opening brief”); Springs Indus., Inc. v. Am. Motorists Ins.
Co., 137 F.R.D. 238, 239 (N.D. Tex. 1991) (a reply brief that presents new arguments and
evidence “deprives the nonmovant of a meaningful opportunity to respond”).


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       C.      “authenticating” / “authenticated”

    Disputed Term               Meetrix’s Construction               LogMeIn’s Construction
    “authenticating” /     No construction necessary.            verifying the identify of / verified
     “authenticated”       Or, in the alternative:
 (’997 patent, claims 1,   Establishing authorization.
        3, & 11)

       Meetrix cites no intrinsic evidence to support its proposal to rewrite “authenticating” to

“authorizing.” As LogMeIn has pointed out, the claim language itself is “highly instructive,”

Phillips, 415 F.3d at 1314, because it distinguishes between an authorizing step—“the telephone

participant providing conference ID information” to obtain access to the conference—and the

step of “authenticating the telephone participant.” ’997 patent at cls. 1 & 3; see also id. at cl. 11.

       Furthermore, authenticating and authorizing are distinct concepts. By way of example, a

bar manager may authenticate a driver’s license by inspecting it under ultraviolet light, but if the

driver’s license shows that the person is under twenty-one years old then the manager will not

authorize the bartender to pour the person a drink. Conversely, the manager may authorize the

bartender to pour a drink for a person who is under twenty-one years old based on a fake driver’s

license, which does not authenticate that the person’s actual age. This distinction in meaning is

reflected in the claims themselves as well as both the technical and general-purpose dictionaries

LogMeIn has cited. See D.I. 60 at 12.

       Accordingly, “authenticating” is appropriately construed as “verifying the identity of,” as

LogMeIn proposes.

       D.      Claim 11 of the ʼ997 Patent and its Dependent Claims are Indefinite for
               Mixing Statutory Classes of Subject Matter

       After reciting the case law regarding the indefiniteness of claims that mix apparatus and

method claim forms (see D.I. 59 at 9-10), Meetrix argues, “It is clear from the context of the



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claim, read as a whole, that the subject claim limitations describe the roles of the claimed

participants, as in Biosig.” D.I. 59 at 10 (citing Biosig Instruments, Inc. v. Nautilus, Inc., 715

F.3d 891, 904 (Fed. Cir. 2013)). Meetrix’s argument based on the Federal Circuit’s 2013 Biosig

decision fails for multiple reasons.

       First, claim 11 of the ’997 patent does not merely “describe the roles of the claimed

participants” (D.I. 59 at 10), but rather recites multiple method steps requiring participants to

take actions—communicate, provide information, and speak:

           “one or more of the participants communicating in the multi-participant video
            conferences”
           “wherein the telephone participant provides a conference ID information”
           “wherein the telephone participant speaks in the video conference”

’997 patent at cl. 11.9 This claim language requiring conference participants to take actions is

analogous to the claim language “wherein … callers digitally enter data” and “wherein … callers

provide . . . data” in the claims invalidated for mixing system and method claim types in another

case Meetrix cites, In re Katz Interactive Call Processing Patent Litig., 639 F.3d 1303, 1318

(Fed. Cir. 2011). In that case, the Federal Circuit rejected the same argument Meetrix advances

here that such claim language merely “defines a functional capability,” explaining that it “is

directed to user actions, not system capabilities.” Id. Just as Katz’s claims “create[d] confusion

as to when directed infringement occurs because they [we]re directed both to systems and to

actions performed by ‘individual callers,’” claim 11 of the ’997 patent creates the confusion

because it is directed both to a “system” and to actions performed by individual participants. Id.

Claim 11, like “Katz’s claims[,] therefore fall[s] squarely within the rationale of IPXL and [is]
9
  Meetrix does not address LogMeIn’s point that the claim phrase “each of the multicast devices
receiving the first message” is also an impermissible method step that provides another basis for
holding claim 11 indefinite. D.I. 60 at 155 (citing See Rembrandt Data Techs., LP v. AOL, LLC,
641 F.3d 1331, 1339 (Fed. Cir. 2011) (affirming the indefiniteness of claims to a “data
transmitting device” that included a method step of “transmitting the trellis encoded frames”)).


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indefinite.” Id.; see also IPXL Holdings, L.L.C. v. Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed.

Cir. 2005) (affirming that a system claim reciting the method step “wherein … the user uses the

input means” was invalid as indefinite).

       Second, the Federal Circuit’s 2013 Biosig decision does not provide guidance on the

indefiniteness issue present here.      That decision focused on whether the term “spaced

relationship” described “the space between the live and common electrodes” with “sufficient

clarity” to inform “skilled artisans as to the bounds of this disputed term.” 715 F.3d at 898-99.

At the end of its opinion, without any discussion of specific claim language, the Federal Circuit

summarily dismissed Nautilus’s additional argument that claim 1 impermissibly mixed an

apparatus and method of use as “unpersuasive” because claim 1 recited no active method steps

but rather only set the context for the system’s “capability of substantially removing EMG

signals” from the user of the “heart rate monitor.”10 Id. at 904.

       Third, the Supreme Court vacated the 2013 Biosig decision because the Federal Circuit

applied too high a standard for indefiniteness, replacing the Federal Circuit’s “‘insolubly

ambiguous’ standard” with a lower standard of indefiniteness which applies where claims “read

in light of the specification delineating the patent, and the prosecution history, fail to inform,

10
   The only other Federal Circuit case Meetrix cites where claims were not deemed indefinite for
mixing claim types is Microprocessor Enhancement Corp. v. Texas Instruments Inc., 520 F.3d
1367 (Fed. Cir. 2008). Meetrix merely cites this case for the broad proposition that “apparatus
claims that use functional language are ‘not necessarily indefinite.’” D.I. 59 at 9 (quoting
Microprocessor Enhancement, 520 F.3d at 1375). While that is true—35 U.S.C. § 112, ¶ 6,
permits functional claiming—it does not bear on whether claim 11 of the ’997 patent
impermissibly mixes system and method claim types. Meetrix does not attempt to analogize
claim 11 of the ’997 patent to the claims in Microprocessor Enhancement. There is no analogy
because those claims recited a “method” to be performed “in a pipeline processor” and specified
the “method steps” to be performed in this processor. Microprocessor Enhancement, 520 F.3d at
1374. By contrast, claim 11 of the ’997 patent recites a “system” but includes active method
steps performed by users of the system, which impermissibly mixes these claim types as the
Federal Circuit held in In re Katz Interactive Call Processing Patent Litigation, 639 F.3d at
1318, and IPXL Holdings, 430 F.3d at 1384.


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with reasonable certainty, those skilled in the art about the scope of the invention.” Nautilus,

Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2124 (2014). On remand, the Federal Circuit

did not revisit the patentee’s secondary argument that claim 1 impermissibly mixed an apparatus

and method. See Biosig Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374, 1379-84 (Fed. Cir.

2015). For these reasons and those set forth in LogMeIn’s opening brief, claim 11 and all claims

dependent on it (claims 12-18) should be held invalid as indefinite for improperly mixing

different classes of statutory subject matter.

       E.      “moderator”

         Disputed Term              Meetrix’s Construction        LogMeIn’s Construction
          “moderator”               No construction           conference participant equipped
   (’525 patent, claims 1, 5, 9)    necessary.                to dial out to the PSTN client(s)
  (’332 patent, claims 1, 2, 3 &                              or have the PSTN client(s) dial
                5)                                            into it

       The only intrinsic evidence that Meetrix cites to support its contention “that a moderator

is the initiator of a videoconference” contradicts that contention by confirming that the

moderator need not be the initiator of the conference. D.I. 59 at 10. Meetrix cites the following

statement, which is explicit that the moderator can be the call initiator or just a caller: “Now

referring to FIG. 3, the voice over IP moderator 401 (call initiator or caller) typically has a

number of peripherals used for real input output devices at the desktop.” Id. (quoting ’332 patent

at 4:54-55). Rather than define the moderator as the call initiator, the patents-in-suit elsewhere

confirm that the moderator may be (but need not be) the person who initiates the call. See ’525

patent at 7:20-21 (“The local moderator client 401 may also be the initiator of the meeting.”).

       As LogMeIn explained in its opening brief (see D.I. 60 at 15-17), the specification uses

definitive language to describe the “moderator” as the conference participant equipped to dial out

to the PSTN client(s) or to have the PSTN client(s) dial into it, per LogMeIn’s construction. See


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’525 patent at 7:17-19 (“The embodiment of FIG. 6 includes a local moderator client 401 who is

responsible for initiating a dial out for audio conferencing to the PSTN client 412.”); 7:49-56

(“The local moderator client 401 is equipped with proprietary software, as depicted in FIG. 6, to

operate as a dial-out to PSTN application.… ‘Dial-In’ may be used in addition using the same

techniques outlined but in a reverse path scenario.”). Another passage of the specification

confirms that the moderator is the member of the conference who has the ability to dial out to a

telephone user. See id. at 4:60-64 (“This [Figure 3] embodiment provides the ability for a

moderator (single member of the conference) to dial out from a desktop computer or terminal …

connecting an external telephone user’s audio into the audio/video conference.”).

       Accordingly, LogMeIn’s construction of “moderator”—“conference participant equipped

to dial out to the PSTN client(s) or have the PSTN client(s) dial into it”—“most naturally aligns

with the patent’s description of the invention” and therefore is “the correct construction.”

Phillips, 415 F.3d at 1316 (quoting Renishaw PLC, 158 F.3d at 1250).

       F.     “A non-transitory computer-readable medium including instructions for a
              multi-participant conference process to be executed by a local moderator
              computer”

       Disputed Term            Meetrix’s Construction          LogMeIn’s Construction
 “A non-transitory computer- No construction               Preamble is limiting: Software
 readable medium including necessary. Preamble is          application for performing a multi-
 instructions for a multi-   not limiting.                 participant conference, which is
 participant conference                                    persistently stored in a form a
 process to be executed by a                               computer can read, that is run by a
 local moderator computer”                                 local moderator computer.
 (’525 patent, claims 9, 10,
 11, 12, 13, 14, 15, & 16)




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       Meetrix offers no argument to support its contention that the preamble of claim 9 of the

’525 patent is not limiting. See D.I. 59 at 11-12.11 As LogMeIn explained in its opening brief,

the preamble of claim 9 is limiting because the phrase “a local moderator computer” in the

preamble provides antecedent basis for “the local moderator computer” recited in the body of the

claim and because the preamble’s recitation of software being “executed by a local moderator

computer” is emphasized as important in the specification. See D.I. 60 at 17-18 (citing cases).

Meetrix’s failure to offer a counterargument is telling. For the reasons previously advanced,

should hold that the claim 9’s preamble constitutes a claim limitation.

       G.      “audio-video [data] stream” and “mixed audio-video data”

            Disputed Term               Meetrix’s Construction         LogMeIn’s Construction
      “audio-video data stream” /      media data transmitted in     a single stream of combined
         “audio-video stream”          a continuous fashion          audio and video data
 (’525 patent, claims 1, 2, 4, 5, & 7)
       “mixed audio-video data”        No construction necessary     a mix of both audio and
   (’525 patent, claims 9, 13, & 15)                                 video data

       Meetrix does not attempt to justify its rewriting the claim term “audio-video data” to

“media data.” See D.I. 59 at 13-14. The Court should reject this rewrite because the hyphenated

term “audio-video” by its plain language refers to audio and video, whereas “media data” is

defined more broadly in the specification to refer to “audio, video, or data” (where “data”

presumably refers to collaboration data).      ’525 patent at 5:51-53; see also D.I. 60 at 20.

Meetrix’s proposal thus impermissibly transforms the hyphen in “audio-video” into an “or” by

allowing just audio or video to satisfy the claim term, and further incorrectly permits

collaboration data (that is neither audio nor video) to qualify as “audio-video data.”

11
   Any argument Meetrix presents in its reply as to why the preamble should not be considered
limiting should be stricken because Meetrix has denied LogMeIn an opportunity to brief a
response here. See, e.g., Novosteel SA, 284 F.3d at 1274; Docusign, Inc., 468 F. Supp. 2d at
1307; Springs Indus., Inc., 137 F.R.D. at 239.


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       Meetrix raises three arguments against LogMeIn’s construction, but none undermine it.

First, Meetrix argues that the use of the term “single” in LogMeIn’s construction is wrong

because the article “a” means “one or more” in patent claims. The use of the term “single” in

LogMeIn’s construction, however, does not confine the claim terms to only one “stream of

combined audio and video data.” LogMeIn agrees that in theory there could be multiple streams

(as long as the remaining claim elements are met), but each “audio-video stream” / “audio video

data stream” must be “a single stream of combined audio and video data.”12

       Second, Meetrix relies on a dictionary definition to argue that having a data “stream”

means “that information is sent in a relatively continuous fashion,” criticizing that LogMeIn has

not construed the term “stream.” D.I. 60 at 13-14. This criticism is misdirected. LogMeIn has

not proposed using other words to describe what a “stream” is because the word is a well-

understood and need not be restated in different words.

       Moreover, Meetrix’s proposed language—“transmitted in a relatively continuous

fashion”—does not define what the claimed “stream” is. For example, audio data might be

“transmitted in a relatively continuous fashion” from a first participant along one data route

while video data is “transmitted in a relatively continuous fashion” from a second conference

participant along another data route, but these constitute separate audio and video data streams—

not the claimed “audio-video data stream” / “audio-video stream.” Based on the plain wording

of the claim terms, to have the claimed “audio-video data stream” / “audio-video stream,” the

audio data from the first conference participant and the video data from the second conference




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  LogMeIn would have no objection to the Court replacing “a single” with “an individual” in
LogMeIn’s construction, if the Court believes this would be helpful to convey that each stream
must meet the claim requirements but there can be multiple streams that do so.


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participant need to be combined into “a single stream of combined audio and video data,” in

accordance with LogMeIn’s construction.

        Finally, Meetrix misunderstands the only intrinsic evidence it cites in support of its

argument that “audio-video” does not mean both audio and video. In particular, Meetrix quotes

from the description of the Figure 6 embodiment in the ’525 patent at column 9, lines 13-20, and

argues “[t]he significance of this description is that there is no mention of the video data from the

moderator also being combined with the audio data from the PSTN client and the moderator.”

D.I. 59 at 14. On this basis, Meetrix concludes that interpreting “audio-video” as “requiring the

combination of audio and video in a strict sense is improper.” Id.

        Meetrix, however, has missed the important point that, when Figure 6 is initially

introduced in the specification, the specification explains that, while “video accompanies the

audio,” the description of the video data flow is intentionally omitted “[f]or simplicity of

illustration”:

        FIG. 6 of the preferred embodiment shows the multiple network domains, the
        software applications and the operating system boundaries and the operations
        necessary for the audio manipulation and transport. It is noted that video
        accompanies the audio to all conference participants with the exception of the
        PSTN client 412. For simplicity of illustration, FIG. 6 does not show the video
        conference path.

’525 patent at 7:11-17. This explains why there is no mention of the video data flow in the

description of Figure 6 and why Meetrix is wrong to conclude, based on the lack of discussion of

video data, that the patents-in-suit have somehow defined “audio-video” at odds with its plain

meaning to refer to, e.g., just audio data.

        Meetrix does not present any additional argument against LogMeIn’s construction of

“mixed audio-video data.” See D.I. 59 at 14. Therefore, for these reasons stated above and in

LogMeIn’s opening brief (see D.I. 60 at 19-20), the Court should construe “audio-video data



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stream” / “audio-video stream” as “a single stream of combined audio and video data” and

“mixed audio-video data” as “a mix of both audio and video data.”

       H.      “first/second/third mixer”

    Disputed Term          Meetrix’s Construction               LogMeIn’s Construction
     “first mixer”      No construction necessary       a mixer that is different from the second
 (’525 patent, claim 1)                                 mixer
    “second mixer”                                      a mixer that is different from the first
 (’525 patent, claim 1)                                 mixer
     “third mixer”                                      a mixer that is different from the first and
 (’525 patent, claim 2)                                 second mixers

       Meetrix concedes that “[t]he use of the terms ‘first’ and ‘second’ is a common patent-law

convention to distinguish between repeated instances of an element or limitation,” but

nevertheless argues that nothing in the intrinsic record requires the claimed first, second, and

third mixers “to be physically distinct.” D.I. 59 at 12. Meetrix, however, does not discuss any

intrinsic evidence. The plain claim language “first,” “second,” and “third” itself instructs that

there are three physically distinct mixers. See Gillette Co. v. Energizer Holdings, Inc., 405 F.3d

1367, 1373 (Fed. Cir. 2005) (“The terms ‘first, second, and third’ are terms to distinguish

different elements of the claim ….”). If Meetrix had intended to refer to one mixer capable of

performing all the claimed functionality—logically, temporally, or otherwise—it could have

claimed “a mixer” and then simply referred back to “the mixer” later in the claim and in

dependent claims. Instead, Meetrix chose to “distinguish” the mixers and claim three “different”

mixers using “[t]he terms ‘first, second, and third.’” Id. at 1373.

       Meetrix’s decision to claim three distinct mixers is unsurprisingly because, as LogMeIn

explained in its opening brief, the specification discloses three separate mixers for mixing

different combinations of data. See D.I. 60 at 21-23 (citing ’525 patent at 3:47-50; 3:54-56;

8:59-9:40; Fig. 6); see also Phillips, 415 F.3d at 1315 (the specification “is the single best guide”


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to a term’s meaning). There is no description anywhere in the specification of one mixer which

performs the functionality of the claimed “first,” “second,” and “third” mixers.

       Finally, Meetrix relies on j2 Glob. Commun., Inc. v. Venali, Inc., No. CV 04–01172 DDP

(AJWx), 2011 WL 3204537 (C.D. Cal. Mar. 4, 2011), but this district court case is inapposite. It

did not involve claim elements distinguished by use of adjectives such as “first” and “second.”

That case also did not involve any teachings in the specification similar to those here, namely

that three claimed mixers perform distinct mixing functions.

       Accordingly, the Court should construe the “first mixer,” “second mixer,” and “third

mixer” to make clear that, per LogMeIn’s constructions, these are three different mixers. This is

what the intrinsic evidence, including the plain claim language, teaches.

       I.       first/second/third mixed data stream and first/second/third mixed audio data

       Disputed Term             Meetrix’s Construction           LogMeIn’s Construction
  “first mixed data stream”     No construction              data stream that only contains a mix
    (’525 patent, claim 1)      necessary                    of both the PSTN client audio data
                                                             stream and the moderator audio-
                                                             video data stream
 “second mixed data stream”                                  data stream that only contains a mix
 (’525 patent, claims 1, 6, &                                of both the moderator audio-video
              8)                                             data stream and the remote client
                                                             audio-video data stream
  “third mixed data stream”                                  data stream that only contains a mix
    (’525 patent, claim 2)                                   of both the audio data from the
                                                             PSTN client and the audio-video
                                                             data stream from the remote client
   “first mixed audio data”     No construction              audio data that only contains a mix
 (’332 patent, claims 1 & 6)    necessary                    of both the first audio data from the
                                                             PSTN client(s) and the second
                                                             audio data from the moderator

                                                             audio data that only contains a mix
 “second mixed audio data”
                                                             of both second audio data from the
 (’332 patent, claims 1 & 7)
                                                             moderator and the third audio data
                                                             from the remote client(s)


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   “third mixed audio data”                                  audio data that only contains a mix
     (’332 patent, claim 2)                                  of both the first audio data from the
                                                             PSTN client(s) and the third audio
                                                             data from the remote client(s)

       The first/second/third mixed data streams and first/second/third mixed audio data refer to

three different data streams and three different mixed audio data, respectively, for the same

reasons LogMeIn has explained for the first/second/third mixers.

       Meetrix complains that LogMeIn’s constructions “improperly narrow the phrase by

precluding any other data whatsoever in the data stream.” D.I. 59 at 15. Meetrix, however, does

not identify any data that it contends has been improperly excluded.              Throughout the

specification and claims, the patents-in-suit only refer to data from three sources: PSTN clients,

remote clients, and the moderator. See ’525 patent at claims 1, 2, 6, 7 & 8; 3:33-43; 3:54-59;

8:61-9:40. LogMeIn’s constructions properly reflect that, throughout the intrinsic evidence, the

mixed data received by a recipient never contains the recipient’s own data but rather only data

from the two other sources. See id.; see also D.I. 60 at 24-25.

       That only two sources of data, and not the recipient’s own data, are included in the mix

that the recipient receives is an important aspect of the alleged invention. See Phillips, 415 F.3d

at 1316 (“The construction that stays true to the claim language and most naturally aligns with

the patent’s description of the invention will be, in the end, the correct construction.”) (quoting

Renishaw, 158 F.3d at 1250). The alleged invention’s approach prevents a recipient from

suffering feedback by receiving his or her own data (i.e., his or her own voice). Undoing the

patentee’s consistent teachings that each of the three mixers provides a mix of two data sources

to a recipient—and this mix does not include the recipient’s own data—would be inconsistent

with how the alleged invention is designed to operate, and such a claim interpretation is



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disfavored. See Gemalto SA v. HTC Corp., 754 F.3d 1364, 1369 (Fed. Cir. 2014) (rejecting the

patentee’s contention that application could be “stored in off-chip memory,” explaining, “The

specification demonstrates that the entire purpose of the invention was to enable the application

to be stored within the memory on the chip of the integrated circuit card.”); Fujitsu Ltd. v.

Netgear Inc., 620 F.3d 1321, 1335 (Fed. Cir. 2010) (rejecting a claim construction as “too broad”

because it “ignore[d] the power saving purpose of the invention and [wa]s not supported by the

specification”).

III.   CONCLUSION

       For the foregoing reasons and for the reasons set forth in LogMeIn’s opening brief,

LogMeIn respectfully requests that the Court adopt LogMeIn’s constructions and, further, that

the Court hold claim 11 of the ’997 patent and its dependent claims invalid as indefinite.



DATED: September 11, 2017                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule 5(b)(2)(E) on September 11, 2017. As of this date,

all counsel of record had consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule 5(b)(2)(E) and by email.



                                                    /s/ Steve Wingard
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